












NOS. 07-09-0367-CR,
07-09-0368-CR

&nbsp;

IN THE COURT OF
APPEALS

&nbsp;

FOR THE SEVENTH
DISTRICT OF TEXAS

&nbsp;

AT AMARILLO

&nbsp;

PANEL A

&nbsp;

JANUARY 27, 2010

______________________________

&nbsp;

EX PARTE ALBERT V.
JESSEP

________________________________

&nbsp;

FROM THE 47TH
DISTRICT COURT OF POTTER COUNTY;

&nbsp;

NO. 51,224-A, 51,
225-A; HONORABLE HAL MINER, JUDGE

_______________________________

&nbsp;

&nbsp;

Before
CAMPBELL and HANCOCK and PIRTLE, JJ.

ORDER








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant
Albert V. Jessep, acting pro se, has pursued in the trial court a
subsequent application for writ of habeas corpus, pursuant to article 11.072 of
the Texas Code of Criminal Procedure.1&nbsp;
His first application was denied by the trial court, and we affirmed its
denial.2&nbsp;
Appellant filed his subsequent application on October 1, 2009, and the trial
court signed an order November 3, 2009, denying the subsequent application.&nbsp;
Appellant has filed notice of appeal from the order.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
clerk's record for this appeal has not been filed. The trial court clerk has
requested an extension of time to prepare the record, advising us that
appellant has not made arrangements to pay for the record.&nbsp; The trial court
clerk also has expressed uncertainty over the necessary contents of the
record.&nbsp; Along with his subsequent application for writ of habeas corpus filed
in the trial court on October 1, appellant submitted an affidavit asserting his
indigence.&nbsp; In a motion filed in this Court, and in a response to the clerk’s
request for an extension, appellant has asserted his entitlement to a free
record.&nbsp; See Tex. R. App. P. 20.2, 31.1. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Although
appellant’s assertions demonstrate some misunderstanding of the procedures
necessary to obtain a free appellate record, to expedite the appeal in these
peculiar circumstances,3 we
will exercise our authority under Rule of Appellate Procedure 2, and order the
preparation of a clerk’s record for the appeal of the trial court’s order
denying appellant’s subsequent application for writ of habeas corpus.&nbsp; Tex. R.
App. P. 2.&nbsp; The trial court clerk is directed to prepare and submit two clerk’s
records containing the papers appellant filed in cause numbers 51,224-A and
51,225-A on October 1, 2009, and all papers filed in those causes since that
date.&nbsp; The records shall be prepared without cost to appellant and shall be
filed with this Court’s clerk no later than February 11, 2010.&nbsp; The trial court
clerk’s request for an extension to submit the record is granted to that date,
but is otherwise denied.&nbsp; Appellant’s motion seeking a free record is granted.&nbsp;
All other relief requested in appellant’s Motion to Permit Appellant to
Proceed In Forma Pauperis on Subsequent Writ of Habeas Corpus is denied.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; It
is so ordered.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Per
Curiam

&nbsp;

Do
not publish.

&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;









&nbsp;&nbsp;&nbsp;&nbsp; 1 Tex. Code Crim. Proc. Ann. art. 11.072, sec.
9 (Vernon 2003) (addressing subsequent applications).&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 





&nbsp;&nbsp;&nbsp;&nbsp; 2&nbsp; Appellant seeks habeas corpus relief from
orders imposing community supervision in two possession of child pornography
cases, trial court cause numbers 51,224-A and 51,225-A. See Ex parte Jessep,
281 S.W.3d 675 (Tex.App.–Amarillo 2009, pet. ref’d).





&nbsp;&nbsp;&nbsp;&nbsp; 3 &nbsp;Our judgment and mandate in his appeal of the
denial of appellant’s original habeas corpus application indicated appellant
proceeded “in forma pauperis.”&nbsp; It appears from the information before us that
appellant’s financial condition has not changed significantly.&nbsp; 







